               Case 2:07-cr-00314-KJM Document 95 Filed 11/24/08 Page 1 of 2


 1   Tim Warriner (SB#166128)
     Attorney at Law
 2   813 6th St., Suite 450
     Sacramento, CA 95814
 3   (916) 443-7141
     FAX: (916) 441-0970
 4
     Attorney for Defendant
 5   TERESA MARIA MORALES
 6
                             IN THE UNITED STATES DISTRICT COURT
 7
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9
     UNITED STATES OF AMERICA,           )                No. CR. S- 07-00314 FCD
10                                       )
                 Plaintiff,              )                STIPULATION AND ORDER
11                                       )                CONTINUING MOTION HEARING,
           v.                            )                SETTING BRIEFING SCHEDULE, AND
12                                       )                EXCLUDING TIME
     TERESA MARIA MORALES,               )
13   ENRIQUE MORALES,                    )
     JOSE LUIS MORALES,                  )
14   JUAN MORALES, and PETRA             )
     PRECIADO MORALES,                   )
15                                       )
                 Defendants.             )
16   ____________________________________)
17   The parties hereby stipulate to the following:
18      1.      A motions hearing in this matter is now scheduled for December 1, 2008 at 10:00
19              a.m.
20      2.      This case involves an alleged complex scheme to defraud the Unemployment
21              Insurance System. Counsel are requesting additional time to file motions,
22              specifically a motion to suppress defendant’s statement and a motion to suppress
23              based upon the search warrant. All parties are in agreement that a motion hearing
24              should be set for April 6, 2009, at 10:00 a.m., and that time should continue to be
25              excluded to that date for preparation of counsel (Local Code T4) as well as
26              complexity (Local Code T2). The parties hereby request that the following briefing
27
28                                                    1
           Case 2:07-cr-00314-KJM Document 95 Filed 11/24/08 Page 2 of 2


 1          schedule be adopted:
 2          Motions due: March 2, 2009
 3          Opposition to Motions due: March 23, 2009
 4          Any Reply: March 30, 2009
 5          Hearing date: April 6, 2009, 10:00 a.m.
 6
     DATED: November 21, 2008           /s/ Tim Warriner
 7                                      Attorney for defendant, TERESA MARIA MORALES
 8
     DATED: November 21, 2008           /s/ Bruce Locke
 9                                      Attorney for defendant, ENRIQUE MORALES
10
     DATED: November 21, 2008           /s/ Miguel A. Hernandez
11                                      Attorney for defendant, JOSE LUIS MORALES
12
     DATED: November 21, 2008           /s/ Clarence Emmett Mahle
13                                      Attorney for defendant, JUAN MORALES
14
     DATED: November 21, 2008           /s/ Donald P. Dorfman
15                                      Attorney for defendant, PETRA PRECIADO MORALES
16
     DATED: November 21, 2008           /s/ Matthew Stegman
17                                      Assistant U.S. Attorney
18
                                             ORDER
19
        GOOD CAUSE APPEARING, it is hereby ordered that the motions hearing set for
20
     December 1, 2008 be continued to April 6, 2008 at 10:00 a.m., and that time continue to be
21
     excluded to April 6, 2008 for preparation of counsel pursuant to Local Code T4, and
22
     complexity pursuant to Local Code T2. 18 U.S.C. 3161(h)(8)(B)(iv). The court adopts the
23
     briefing schedule as stipulated by the parties and set forth herein.
24
 .
25
     DATED: November 21, 2008
26                                                       _______________________________________
                                                         FRANK C. DAMRELL, JR.
27                                                       UNITED STATES DISTRICT JUDGE
28                                                 2
